Case 2:05-CV-02228-SHI\/|-tmp Document 7 Filed 08/17/05 Page 1 of 2 Page|D 10

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IN THE UNITED STATES DISTRICT COURT .ED BY"%LD.C,
FOR THE WESTERN DISTRICT OF TENNESSEE GSAUG
WESTERN DIVISION ,7

 

CHUBB CUSTOM INSURANCE CO.,
Plaintiff,
No. 05-2228-Mav

vS.

HARBOUR APARTMENTS, INC.,
et al.,

~_¢`.¢'-./\_r\...d\_¢\_¢\..d\_/\_¢

Defendants.

 

ORDER OF RECUSAL OF MAGISTRATE JUDGE DIANE K. VESCOVO

 

Pursuant to 28 U.S.C. § 455(a) and (b)(l) and (5)(iv), the
undersigned hereby recuses herself, sua sponte, from all
proceedings in the above-captioned case.

The clerk is directed to take the appropriate action to
reassign this case and to deliver the magistrate judge's to the
magistrate judge who receives the assignment.

The scheduling conference set August 25, 2005, is canceled and
will be reset by the magistrate judge to whom the case is assigned.

IT Is so oRDERED this 17th day of August, 2005.

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DIANE K. vEscovo '
UNITED sTATEs MAGISTRATE JUDGE

Tl‘.'\e document entered on the docket sheet in compliance
with Hu!e 58 and,'or 79(3) FHCP on "

AHH.' 12

 

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

